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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

     v.

CHARLIE JAVICE and OLIVIER AMAR,        23-cr-00251-AKH

                 Defendants.




        DEFENDANT AMAR’S MEMORANDUM IN OPPOSITION TO
 JPMORGAN CHASE BANK, N.A.’S MOTION TO QUASH RULE 17(C) SUBPOENAS
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                                PRELIMINARY STATEMENT

       If JPMC had its way, defendant Olivier Amar would be forced to defend against criminal

charges without critical internal communications that are squarely relevant to the allegations

against him. He would not have communications of JPMC employees discussing the very

documents referenced and quoted in the Criminal Complaint that allegedly contain the

misrepresentations at the heart of this case. He would not have communications of key JPMC

personnel involved in the Frank acquisition—the executives who aggressively spearheaded the

acquisition, the employees who attended meetings where the alleged misrepresentations were

made, and the individuals who orchestrated the valuation and diligence of Frank where the

materiality of the alleged misrepresentations was assessed. And crucially, he would not have

internal JPMC communications regarding the post-Merger 1 data transfer at the center of the

charges against him. Mr. Amar has issued a proper Rule 17(c) subpoena (the “Subpoena”) seeking

a targeted set of these specific, relevant, and admissible documents, which are essential for him to

receive a fair trial, but JPMC has refused to comply. JPMC does not argue that the Subpoena fails

to satisfy Rule 17(c)’s requirements—which demand only that the subpoena be “reasonable” and

not “oppressive”—but instead takes pains to heighten the hurdle. But even under the more stringent

standard that JPMC asks this Court to apply, the Subpoena withstands scrutiny.

       After describing Mr. Amar’s requests as “detailed” to this Court, JPMC’s main challenge

to the Subpoena is that it lacks specificity. JPMC repeatedly points to the three-year period

nominally covered by the default, general instructions accompanying the Subpoena, and pays no

mind to the fact that nearly all of Mr. Amar’s requests are tethered to a specific document, event,



1
 “Merger” refers to the merger of Finland Merger Sub, Inc., with and into Frank, which occurred
on September 14, 2021, when Frank became a subsidiary of JPMC.


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or conversation (and thus are temporally limited by context). JPMC otherwise feigns ignorance as

to which custodians may have documents responsive to the requests—even in instances where the

requests are tied to specific communications referenced in the Criminal Complaint, which itself

merely parrots JPMC’s civil complaint against Mr. Amar. Even if such objections had merit—

which they do not given the context of the specific requests—Mr. Amar clarifies and narrows both

the time frames and specific custodians as set forth below.

       JPMC otherwise argues that the Subpoena seeks documents that it has produced, but this

argument, too, fails. Mr. Amar’s requests seek documents from individuals whose files have not

been searched at all or were not searched during the relevant time periods. On numerous occasions,

JPMC points to parts of its existing productions that do not satisfy Mr. Amar’s requests or makes

empty gestures to produce documents that only partially get there. Where Mr. Amar seeks

discussions concerning emails, presentations, and spreadsheets cited specifically in the Criminal

Complaint, JPMC offers only to produce all documents “containing” the email or “attaching” the

presentation or spreadsheet. JPMC’s suggested approach defies common sense and falls woefully

short of satisfying the requests. JPMC’s remaining arguments—for example, that no post-Merger

communications are relevant (despite the fact that the Indictment defines the conspiracy period

through November 22, 2022, more than a year after the Merger closed, and despite JPMC agreeing

in various instances to produce post-Merger communications) or that all documents withheld for

privilege are immune from production (despite JPMC’s own case law finding otherwise)—are just

as specious and overbroad. JPMC’s position ignores that the central allegations against Mr. Amar

in particular hinge on purported post-Merger conduct. See Crim. Compl. ¶¶ 32-33 (containing

section entitled, “The Fraud Continues Post-Acquisition”).




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       Ultimately, JPMC’s motion makes one thing clear: JPMC should have engaged in a good

faith conferral with Mr. Amar before moving to quash the Subpoena (nearly in its entirety). Instead,

JPMC made no outreach to Mr. Amar for the three weeks following service of the Subpoena and

then requested a conferral on the day its motion was due. Evidently, JPMC misapprehends the

purpose behind this Court’s individual rule and was content to check a box rather than engage in

meaningful discussions aimed at narrowing or obviating disputes. As a result, JPMC’s motion

reads more like objections and responses to a subpoena than a bona fide motion to quash. Mr.

Amar has been and remains willing to meet and confer to answer any questions or discuss any

issues—an offer that has been conveyed to JPMC repeatedly—but in the meantime is left to clarify

and narrow his requests through an opposition brief.

       For the reasons set forth below, JPMC’s motion is without merit. The Subpoena

specifically identifies relevant and admissible categories of documents that have not already been

produced. The documents it seeks are crucial to the defense, and they are precisely the types of

documents that criminal defendants are entitled to subpoena from third parties. The Court should

therefore deny the motion and order JPMC to comply with the Subpoena.

                                        BACKGROUND2

       On July 12, 2023, the Government filed a superseding indictment naming Mr. Amar as a

defendant in this action. See ECF. No. 27. Since then, Mr. Amar has fought to access documents

foundational to his defense, including those from his direct supervisors at JPMC and internal



2
  The limited redactions in this filing correspond to materials the Government has designated under
the protective order in this case and to the names of certain non-party JPMC personnel that were
redacted from JPMC’s motion. Defendants have no objection to the publication of any of this
information and are available to confer with the Government and JPMC regarding the
confidentiality of this information. In an abundance of caution, this information is currently
redacted from this public filing.


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communications of individuals who approved the Frank acquisition, among others. This Court has

recognized the materiality of these internal communications, both in this case and in the parallel

SEC matter that has since been stayed. See July 13, 2023 Hr’g Tr. at 11:10-16, ECF No. 35 (this

Court noting that it “can see the relevance of that information” and that internal communications

are material evidence for assessing “[d]id JPMorgan rely on this information, from your point—

from your account, reliance is suggested, but there may be items in the correspondence that show

differently”); see also June 15, 2023 Hr’g Tr. at 24:13-24, SEC v. Javice, No. 23-cv-02795,

(S.D.N.Y. Apr. 4, 2023) (Liman, J.) (“There might be a smoking gun. There might be an email

where Ms. Javice said to J.P. Morgan, these customers are not yet real customers where we have

information, identifying information.”).

       For months, Mr. Amar has pursued these communications, first through attempted

negotiations with the Government to enforce the grand jury subpoenas to JPMC and collect

material communications from all critical custodians. When the Government refused to collect

those communications from JPMC, Defendants moved to compel the Government to do so under

Rule 16, Brady, and Giglio. See Motion to Compel Production of Rule 16 Discovery and

Brady/Giglio Material at 5-12, ECF No. 58 (Oct. 13, 2023) (the “Motion to Compel”). The Court

granted the Defendants’ motion, in part, and ordered that the Government require JPMC to produce

documents from individuals named in the Complaint. See Order Regulating Proceedings at 2-3,

ECF No. 61 (Nov. 7, 2023) (the “November 7 Order”) (“Goldstein and Shpiro were identified in

the Government’s Complaint as recipients of Defendants’ alleged fraudulent conduct, and they

may possess relevant and material documents. The Government should require JPMC to search

for, and produce, under the existing subpoenas, responsive documents in the files and emails of

these two custodians. This ruling extends, as well, to all other JPMC officers or employees




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referenced in the Complaint.”). Mr. Amar now seeks the remaining documents that are critical to

his defense.

       Mr. Amar does not seek documents for the sake of documents. His pursuit of additional

communications is specifically targeted at evidence that he knows exists and that is material to his

defense—particularly given the exculpatory evidence unearthed so far. As just one example, on

October 12, 2023, the Government produced from JPMC an internal communication from

February 2022 (five months after the acquisition) between senior officers involved in Merger

diligence, a senior managing director deeply involved in Frank’s integration, as well as

Defendants’ direct manager about why Frank’s marketable user base was lower than expected.

After discussing various possibilities for lower-than-expected numbers, the chain is forwarded to

                     (“Executive-1” in the Criminal Complaint), who states, “I don’t think this is

a misrepresentation issue.” In a case premised on alleged misrepresentations to JPMC, Mr. Amar

is entitled to JPMC’s internal communications about what was represented (or not). But JPMC

has, so far, declined to produce specific, relevant, and admissible documents from key individuals

about those alleged misrepresentations. Indeed, Ms.                   email exchange originates in

a discussion with other JPMC employees, including (among others)

                                —none of whom are custodians whose documents have been

searched and produced in this matter—wherein                                  attribute the drop in

marketable users to flaws in integrating Frank into JPMC post-Merger. See Ex. B

(USAO_Rel_001735542); see also Ex. C (USAO_Rel_001730711) (




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                                                                  ).3

       Mr. Amar now seeks additional documents pursuant to Rule 17—an avenue this Court

contemplated and deemed appropriate at this juncture “[i]n light of the complexity of this case,”

rather than having to wait until “the eve of trial.” See Nov. 7 Order at 3. On November 9, 2023,

Mr. Amar therefore issued a subpoena with specific requests for relevant and admissible evidence.

JPMC moves to quash on the following grounds: the Subpoena (1) seeks documents previously

produced; (2) lacks specificity; (3) seeks irrelevant information; and (4) seeks documents that are

inadmissible because they are privileged. See, e.g., Memorandum of Law in Support of Non-Party

JPMorgan Chase Bank, N.A.’s Motion to Quash Defendants’ Rule 17(c) Subpoenas (“Mot.”) at 7-

11, ECF No. 75. JPMC’s grounds to quash are meritless, and its motion should be denied.

       Before filing the instant opposition, Mr. Amar made good faith efforts to meet and confer

with JPMC. JPMC asked Mr. Amar and Ms. Javice to schedule a meet and confer on the day its

motion was due. Counsel for Defendants and JPMC met and conferred on December 4, 2023, just

one business day after JPMC filed its motion. On December 7, Mr. Amar provided JPMC with a

written proposal—with specific custodians, time periods, and suggested search terms—in an effort

to narrow the disputes JPMC raised in its Motion and sought JPMC’s availability to discuss the

same. Counsel for JPMC responded to Mr. Amar’s proposal the following Monday, December 11,

only to note they had received, were reviewing, and would be in touch. Counsel for Mr. Amar

reached out again on December 13. On the night of December 14, the eve that the instant

opposition was due, counsel for JPMC responded by letter, addressing only a handful of



3
 JPMC continues to produce responsive materials. Indeed, only one week ago, JPMC produced
an additional 14,244 documents in response to the Court’s November 7 Order.


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specific applies where the government issues a subpoena or where a defendant issues a subpoena

to the government.”).4

       When issued by the defense, “the only test for obtaining the documents [should] be whether

the subpoena was: (1) reasonable, construed using the general discovery notion of ‘material to the

defense;’ and (2) not unduly oppressive for the producing party to respond.” United States v.

Nachamie, 91 F. Supp. 2d 552, 563 (S.D.N.Y. 2000). This test is consistent with the literal text of

Rule 17(c)(2), and has been applied by several courts that have considered this specific issue. See

id; Goldstein, 2023 WL 3662971, at *2 (subpoena must be “(1) reasonable, construed as ‘material

to the defense’ and (2) not unduly oppressive for the producing party to respond.” (citing Tucker,

249 F.R.D. at 66)); see also United States v. Soliman, No. 06-cr-236A (RJA) (HBS), 2009 WL

1531569, at *3 (W.D.N.Y. May 29, 2009). Indeed, this less stringent standard is appropriate for a

defendant’s Rule 17(c) subpoena because, unlike the government, the defendant does not have

access to vast investigatory powers. See, e.g., Nachamie, 91 F. Supp. 2d at 562 (“That high

standard [of Nixon] . . . made sense in the context of a Government subpoena, especially one

seeking evidence from the President. It must be recalled that the Government’s use of a subpoena

occurs after the completion of a grand jury investigation.”); Soliman, 2009 WL 1531569, at *3

(discussing the “inherent asymmetry of investigative resources the defense has as compared with

the Government”).




4
 The Second Circuit applied the Nixon factors in United States v. Ulbricht, 858 F.3d 71, 109 (2d
Cir. 2017), but that case involved a subpoena issued to the government—not to a third party.


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                                          ARGUMENT

  I.   The Subpoena Is Reasonable and Not Unduly Oppressive

       The Supboena satisfies the standard contained in the text of Rule 17(c) itself. JPMC does

not argue that the Subpoena is unreasonable or unduly oppressive because it cannot. The requests

are reasonable because they seek squarely relevant evidence—in most instances, pertaining

directly to documents cited in the Criminal Complaint and discussions regarding the same—that

bears directly on Mr. Amar’s defenses, including as to scienter, falsity, and materiality. JPMC cries

burden under the guise of lack of specificity, repeatedly attacking the three-year time period

provided in the Subpoena’s general instructions, but under any rubric—Rule 17(c) or Nixon—this

argument fails. See United States v. Yudong Zhu, No. 13 CR. 761, 2014 WL 5366107, at *6

(S.D.N.Y. Oct. 14, 2014) (finding specificity requirement under Nixon established for a nearly

three-year time period); United States v. Nachamie, 91 F. Supp. 2d 552, 563-64 (S.D.N.Y. 2000)

(finding subpoena seeking documents from five-year time period to be reasonable and not unduly

oppressive). In any event, as described below, that three-year time period is a default time period

that rarely applies because the context of the specific requests obviously requires JPMC to search

for documents from much narrower time periods. To avoid any confusion notwithstanding Mr.

Amar’s specificity, he clarifies the narrow time frames below.

       JPMC is one of the world’s largest, wealthiest, and most sophisticated financial institutions

in the world. The Bank is also a litigant in a civil securities fraud claim against Mr. Amar pending

in the District of Delaware, and has imposed litigation holds (albeit, potentially belated ones) on

numerous custodians. In fact, the Bank already has done a significant portion of the legwork




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Instruction No. 3. Moreover, as set forth in detail below, Mr. Amar’s requests specifically seek

documents that JPMC has not yet produced—from custodians whose files have not been searched;

from time periods in which documents have not been pulled; and using search terms that have not

yet been applied. See infra (Request Nos. 3-15, 17, 18, 19, 21, 22-28).

       In this regard, JPMC’s reliance on United States v. Bergstein, No. 16-cr-746 (PKC), 2017

WL 6887596 (S.D.N.Y. Dec. 28, 2017), and United States v. Xiaoquing Zheng, No. 19-cr-156

(MAD), 2020 WL 6287481 (N.D.N.Y. Oct. 27, 2020), is misplaced. See Mot. at 8. In Bergstein,

Judge Castel assessed the propriety of subpoenas seeking broad categories of documents—nearly

all of which requested “all documents” pertaining to a topic or person. 2017 WL 6887596, at *2

(describing subpoena seeking, among other things, “All COMMUNICATIONS with

BERGSTEIN,” and “All COMMUNICATIONS regarding ARIUS, PINEBOARD, MD TABLET,

PARMAR, or BERGSTEIN”). In Xiaoquing Zheng, Judge D’Agostino likewise assessed the

propriety of subpoenas seeking broad categories of documents—nearly all of which requested “all

documents” pertaining to a topic or person. 2020 WL 6287481, at *1 (describing a subpoena

seeking, among other things, “All GE documents including the alleged trade secrets at issue in the

indictment”). The Subpoena here, by contrast, seeks specific categories of documents tailored to

narrow time periods and often connected to specific discussions or even the substance of specific

documents.

       Further, in both Bergstein and Xiaoquing Zheng, the courts emphasized that the defendants

made no distinction between the materials that the Government already produced and those that

the respective defendants sought via subpoena. This failure, among other things, was fatal to their

subpoenas. Bergstein, 2017 WL 6887596 at *5; Xiaoquing Zheng, 2020 WL 6287481, at *5. That

is not the case here, where Mr. Amar has explicitly carved out documents that JPMC has already




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documents are unquestionably critical to Mr. Amar’s defense, and JPMC should search their files

for documents responsive to this request.

       In sum, the documents sought by the Subpoena and JPMC’s productions to date do not

significantly overlap, and Mr. Amar has distinguished the materials that JPMC already produced

from the materials to which he is entitled by subpoena. For these reasons, the Motion to Quash

should be denied.

           B. The Subpoena Seeks Specific, Identifiable Information Believed to Be
              Contained in the Documents Sought

       JPMC incorrectly contends that the Subpoena does not “seek specific, identifiable

information contained or believed to be contained in the documents sought.” Mot. at 8. “A request

is generally sufficiently specific where it limits documents to a reasonable period of time and states

with reasonable particularity the subjects to which the documents relate,” United States v. RW Pro.

Leasing Servs. Corp., 228 F.R.D. 158, 162 (E.D.N.Y. 2005), or where it is “focused on a group of

records likely to contain helpful documents,” United States v. Weisberg, No. 08-cr-347 (NGG)

(RML), 2011 WL 1327689, at *7 (E.D.N.Y. Apr. 5, 2011) (citing In re Irving, 600 F.2d 1027,

1034 (2d Cir.1979)); United States v. Rajaratnam, No. 09-cr-1184 (RJH), 2011 WL 507086, at *1

n.1 (S.D.N.Y. Feb. 15, 2011) (holding that a request for “all documents” between several named

parties and reflecting certain payments was sufficiently specific). Rule 17 does not require a

defendant to “have prior knowledge of specific documents to meet the specificity requirement of

Rule 17(c).” Weisberg, 2011 WL 1327689, at *7; see Rajaratnam, 2011 WL 507086, at *1 n.1

(explaining that “requiring the defendant to specify precisely the documents he wants without

knowing what they are borders on rendering Rule 17 a nullity”); Weisberg, 2011 WL 1327689, at

*7 (Rule 17(c) subpoena should be issued “where the movant knows that the material sought exists

and can identify it with specificity, even if he is ignorant of the exact content of the material”



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(emphasis added)). As discussed below, Mr. Amar has made a preponderance showing that the

materials requested are specific. He has identified specific categories of documents (in some cases,

referencing particular communications with exact precision), in narrow time frames, and a targeted

list of custodians from whom he seeks those documents. Rule 17(c) requires nothing more.

       On this point, JPMC’s reliance on United States v. Barnes, No. S9 04-cr-186 (SCR), 2008

WL 9359654 (S.D.N.Y. Apr. 2, 2008), is misplaced. There, the defendant sought “all” documents

that fell into several categories for a two-year period, including, for example, “all disciplinary

records” for an MDC employee that had none (a fact of which the defendant was aware). Id. at *4.

For other categories, the defendant “apparently [did] not know whether or not the some of the

documents requested even exist[ed].” Id. Taken together, the court found that the requests evinced

that the defendant was trying to obtain “voluminous materials in the hope that a review of them

will uncover some evidence that will be helpful to his defense.” Id. Here, by contrast, Mr. Amar

knows that the requested materials exist—or has good reason to believe so—and has articulated

beyond mere speculation that these materials are likely to contain information material to the

defense if not outright exculpatory.

       JPMC’s reliance on United States v. Shea, 2022 WL 13847351, No. 20-cr-412-4 (AT)

(S.D.N.Y. Oct. 24, 2022), United States v. Cole, No. 19-cr-869 (ER), 2021 WL 912425 (S.D.N.Y.

Mar. 10, 2021), and United States v. Avenatti, No. (S1) 19-cr-373 (PGG), 2020 WL 508682

(S.D.N.Y. Jan. 31, 2020), is likewise misplaced. See Mot. at 9-10. Mr. Amar is not speculating or

hoping that the sought-after materials exist or contain relevant information. To satisfy the

specificity requirement of Nixon, the party seeking production of the materials must “reasonably

specify the information contained or believed to be contained in the documents sought” rather than

merely hope that something useful will turn up. Tucker, 249 F.R.D. at 62-63 (citation omitted). A




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subpoena meets the specificity requirement if the defendant is able to specify what he believes to

be contained in the documents he seeks. Id. Mr. Amar has done so here, and so JPMC’s Motion

fails.

            C. The Subpoena Seeks Evidence That Is Squarely Relevant to the Charges in
               the Indictment

         JPMC argues, without substantiation, that that the Subpoena seeks “information that is

irrelevant to the charges in the Indictment.” Mot. at 10. While “Rule 17(c) subpoenas are not to be

used as broad discovery devices,” they need only be “reasonably targeted to ensure the production

of material evidence.” Tucker, 249 F.R.D. at 66. A document is material if “it could be used to

counter the government’s case or to bolster a defense.” United States v. Clarke, 979 F.3d 82, 97

(2d Cir. 2020) (quoting United States v. Stevens, 985 F.2d 1175, 1180 (2d Cir. 1993)); Weigand,

482 F. Supp. 3d, at 243 (quoting United States v. Ulbricht, 858 F.3d 71, 109 (2d Cir. 2017)). “[T]he

documents need not directly relate to the defendant’s guilt or innocence. Rather, they simply must

‘play an important role in uncovering admissible evidence, aiding witness preparation,

corroborating testimony or assisting impeachment or rebuttal.’” United States v. Rezaq, 156 F.R.D.

514, 519 (D.D.C. 1994), vacated in part, 899 F. Supp. 697 (D.D.C. 1995) (citations omitted). “This

‘low threshold’ is satisfied if the information requested would have ‘helped’ [the Defendant]

prepare a defense.” United States v. Lucas, 841 F.3d 796, 804 (9th Cir. 2016) (internal citations

omitted).

         Despite broadly disputing relevance, JPMC does not specifically contest relevance for most

of the requests—Requests 1-15, 17-20, 22, 24-27, 31—because it cannot.6 That is because these

requests seek evidence that is unquestionably relevant to allegations in the Criminal Complaint.


6
 The relevance of the remaining requests is addressed in turn below. See infra (Requests 16, 21,
23, 28, 29, 30).


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See, e.g., Crim. Compl. ¶¶ 13, 19, 21, 25-26, and 32. On their face, these requests seek evidence

that bears directly on Mr. Amar’s defenses, including as to scienter, falsity, and materiality, and

JPMC does not contend otherwise.

         JPMC argues in conclusory fashion that “many” of Mr. Amar’s requests “seek information

as to post-Merger business dealings that are wholly irrelevant to whether Defendants engaged in

fraud when they sold Frank to JPMC.” Mot. at 10. JPMC never specifically identifies the “many”

requests at issue. Regardless, JPMC’s unsupported contention that post-Merger conduct is

irrelevant to the charges against Mr. Amar lacks merit and contradicts the allegations in the

Indictment and the Criminal Complaint. To begin, the Superseding Indictment specifically defines

the conspiracy period as “in or about June 2021 through at least in or about November 2022.” ECF

No. 27 ¶ 1. Further, the Criminal Complaint includes allegations, particularly against Mr. Amar,

that took place post-acquisition, even consolidating those allegations in a section titled, “The Fraud

Continues Post-Acquisition.”7 Crim. Compl. ¶¶ 32-33; id. ¶ 32(a)(ii) (quoting emails from Mr.

Amar). JPMC’s position that post-Merger documents are irrelevant is all the more confusing, given

it elsewhere agrees to produce certain post-Merger communications. See infra (Requests 13, 14,

22, 24, 25, 28).

         Putting aside the allegations pertaining to post-Merger conduct, documents from after the

Merger also contain critical information casting doubt on the materiality of the alleged

misrepresentations in JPMC’s decision to buy Frank and in the valuation of the startup. See

USAO_Rel_001735542; USAO_Rel_001730711. These documents are not only directly relevant

to an element of the charges against Mr. Amar, but they demonstrably contain exculpatory

information.


7
    Mr. Amar remained an employee of JPMC until October 26, 2022.


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             D. The Subpoena Seeks Admissible Documents

          Finally, JPMC broadly contends that the Subpoena seeks “documents and communications

that would be inadmissible,” but points only to Mr. Amar’s request for the production of certain

documents on JPMC’s privilege log. Mot. at 10-11. Indeed, JPMC does not specifically dispute

admissibility for most of the requests—Requests 1-15, 17-18, 20, 22, and 25-27—because it

cannot.

          To begin, the Subpoena seeks admissible evidence, including relevant business records

kept in the ordinary course by JPMC.8 A presumption of admissibility may apply in cases, like this

one, where the defendant has shown the potential relevance of documents. Rajaratnam, 753 F.

Supp. 2d 317, 320 n.1 (noting that Rule 17 may be a “way for a defendant to examine documents

he believes to exist that would be relevant to, and therefore presumptively admissible in, his

defense” (emphasis added)). This determination can be preliminary, since the trial itself will

involve separate rulings on admissibility. See Bergstein, 2018 WL 9539846, at *2 (finding Nixon’s

admissibility prong met for requests given that defendant’s showing “permits a rational inference

as to the relevance of these materials, and sufficiently preliminarily demonstrates admissibility”

(emphasis added)). As demonstrated above, the evidence requested by the Subpoena bears directly

on Mr. Amar’s defenses, namely as to scienter, materiality, and falsity, thus establishing relevance

and preliminarily demonstrating admissibility. See id.; see also Weigand, 520 F. Supp. at 614

(finding, in a bank fraud prosecution, that a Rule 17(c) subpoena sought relevant materials in part




8
  See, e.g., Zhu, 2014 WL 5366107, at *3 (denying motion to quash and noting that “documents
would likely qualify as business records under Federal Rules of Evidence 803(6), if they were
created in the course of a business’s regularly-conducted activities”); Weisberg, 2011 WL 1327689,
at *7 (finding that “requested material is also likely admissible as business records”).


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because a juror may “find that the alleged misstatements did not have a natural tendency to

influence or a reasonable likelihood of influencing a bank’s decision”).

       As discussed in further detail below, see infra (Request 31), many of the requested

documents may in fact not be privileged, and in any event, documents withheld on the basis of

privilege are not per se inadmissible. JPMC does not argue—and offers no case law

demonstrating—otherwise.9 In fact, JPMC relies on inapposite case law to insinuate that privilege

claims, without more, are sufficient grounds to withhold documents in the face of a Rule 17(c)

subpoena. Indeed, JPMC’s citation to United States v. Weisberg, No. 08-cr-347 (NGG) (RML),

2011 WL 1327689 (E.D.N.Y. Apr. 5, 2011), is misleading. See Mot. at 10. This case supports Mr.

Amar’s position. There, the court quashed certain subpoena requests for failing to meet any of the

Nixon factors (none on the basis of privilege claims alone), but otherwise held, with respect to

certain supposedly privileged records: “If [the subpoena recipients] believe that any responsive

records are in fact privileged, they should submit such records for the court to review in camera,

along with a detailed explanation as to why they believe the records are privileged. A mere

privilege log will not suffice.” Id. at *7. Here, too, JPMC’s bald assertions of privilege and

wholesale reliance on its privilege log are not enough.

       Because the Subpoena seeks specific, relevant, and admissible documents that have not

otherwise been produced, this Court should deny JPMC’s Motion to Quash.




9
 JPMC raises a banking privilege, arguing that it is “bound by strict federal law to maintain
confidentiality over [its] reporting of suspicious activity.” Mot. at 11 n.4. To the extent that this
privilege is implicated by Request 31, and as addressed below in further detail, Mr. Amar’s
“constitutional right to present a defense” may “outweigh” JPMC’s right to assert privilege. See
Weisberg 2011 WL 1327689, at *4 (citing Fed. R. Evid. 501).


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III.   The Subpoena’s Definitions and Instructions Do Not Violate Rule 17(c)

       JPMC argues that the Subpoena’s definitions and instructions are “so broad that they render

even a potentially proper request inappropriate under the strictures of Rule 17.” Mot. at 11. But

JPMC’s only challenge to Mr. Amar’s definitions is his reliance on the Local Civil Rules in the

absence of any Local Criminal Rules. See Mot. at 11-12. Courts have routinely “imported” civil

rules to criminal cases where the criminal rules are silent. See, e.g., United States v. Williams, 951

F.2d 1287, 1289 (D.C. Cir. 1991) (“[W]e imported [the standard] from the civil rules for cases

tried to the court . . . because the rules of criminal procedure were silent on the matter.”); United

States v. CITGO Petroleum Corp., 908 F. Supp. 2d 812, 820 (S.D. Tex. 2012) (“Absent specific

guidance from the Federal Rules of Criminal Procedure, courts should apply the standards set forth

in the Federal Rules of Civil Procedure . . . .” (citing United States v. Healy, 376 U.S. 75, 84 S. Ct.

553 (1964))); United States v. Rollins, 607 F.3d 500, 502 (7th Cir. 2010))). Because the Local

Criminal Rules are silent, Mr. Amar aligned his general definitions and instructions with S.D.N.Y.

Local Rule 26.3. “While the civil rules are not expressly applicable to criminal cases, the courts

have used the principles somewhat interchangeably.” United States v. Lewis, 432 F. Supp. 3d 1237,

1269 (D.N.M. 2020) (citing United States v. Christy, 739 F.3d 534, 539-40 (10th Cir. 2014);

United States v. Huff, 782 F.3d 1221, 1223-24 (10th Cir. 2015)).

       JPMC challenges three additional instructions: 9, 14, and 19. Each of these challenges fail.

           A. Instruction 9 Is Proper

               Instruction 9: This subpoena covers all Documents in or subject to your
               possession, custody or control, including all Documents that are not in your
               immediate possession but that you have the effective ability to obtain, that
               are responsive, in whole or in part, to any of the individual requests set forth
               below, such as, for example, Documents maintained by your counsel.

       JPMC says that Instruction 9 “purports to force JPMC to somehow search for documents

JPMC does not possess.” Mot. at 13. This instruction by no means “force[s] JPMC to somehow


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search” for documents outside its possession. To the contrary, the instruction expressly requests

documents within JPMC’s “possession, custody or control.” The term “control” has been

“construed broadly by the courts as the legal right, authority, or practical ability to obtain the

materials sought upon demand.” Markus v. Rozhkov, 615 B.R. 679, 705–06 (S.D.N.Y. 2020)

(citation omitted). Indeed, “[d]ocuments in the possession of a party’s attorney may be considered

to be within the control of the party.” Id. (citation omitted). JPMC documents that are held by

JPMC’s counsel are certainly within JPMC’s possession. In any event, only one of Mr. Amar’s

requests—Request 28, which seeks “Documents and Communications related to internal

discussions of the content and subject matter of JPMC’s Internal Investigation into Frank that

precipitated the termination of . . . [Mr. Amar]”—may implicate documents in the possession of

JPMC’s outside counsel, Hogan Lovells.

            B. Instruction 14 Is Proper

               Instruction 14: These Requests require the production of original tangible
               things in the same form and in the same order as they are kept in the usual
               course of business. The titles or other descriptions on the boxes, file holders,
               bindings, or other container in which tangible things are kept are to be left
               intact. Alternatively, all documents are to be produced, organized, and
               labeled to correspond with the categories in this Request.

       JPMC argues that Instruction 14 “amounts to nothing more than an attempt to compel

JPMC to do Defendants’ job in reviewing the documents in their possession and provide a

summary to Defendants.” Mot. at 13. This exaggeration is as specious as it is untrue. This

instruction requires only that JPMC produce things “in the same form and in the same order as

they are kept in the usual course of business.” If anything, this instruction requires JPMC to do

less. JPMC’s misconstruction of this instruction therefore should be disregarded, if not outright

rejected.




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           C. Instruction 19 Is Proper

               Instruction 19: Documents not otherwise responsive to these Requests shall
               be produced if such documents concern, relate to, mention, discuss, refer to,
               describe, or explain the documents which are called for by these Requests.

       Finally, JPMC contends that Instruction 19 is “absurd—on its face, it purports to require

JPMC to produce non-responsive documents.” Mot. at 13-14. Again, JPMC presents an

overblown, exaggerated reading of this instruction. Instruction 19 directs that documents

concerning, relating to, or explaining documents that are responsive to the Subpoena should be

produced. There are any number of examples of how a document explaining the context for another

responsive document would itself be responsive. One obvious example may be in the production

of text messages or other electronic instant messages, where single snippets, alone, may be non-

responsive on their face, but together with others make up a responsive communication. Another

example may be general diligence templates or acquisition procedures and/or policies that do not

directly relate to Frank, but otherwise inform the process by which JPMC pursued and closed the

deal. Even so, Mr. Amar has been and remains willing to discuss this instruction to assuage

JPMC’s stated concern.

       In summary, the Subpoena’s definitions and instructions often include default guidance

and directions that should be applied only where a specific request does not contain specific

instructions or context for that request. In many cases, as JPMC well knows, any number of the

instructions will not apply at all. JPMC relies on cases where the default instructions were broad

and the requests were even broader. See Mot. at 12 (quoting United States v. Tagliaferro, No. 19-

cr-472 (PAC), 2021 WL 980004, at *3 (S.D.N.Y. Mar. 16, 2021), which involved a

“breathtakingly broad” subpoena seeking “all documents”). That is not the case here. Not a single

request in Mr. Amar’s Subpoena seeks “all documents.” However, for avoidance of doubt and as




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set forth in detail below, Mr. Amar has clarified and narrowed various requests to ameliorate any

suggestion of undue burden about which JPMC has complained.

IV.    Mr. Amar’s Requests Satisfy Rule 17(c)10

       As noted above, Mr. Amar does not agree that Nixon is the appropriate standard to assess

the Subpoena. Nevertheless, because the Subpoena satisfies even Nixon’s higher standard—

especially as clarified and narrowed below—Mr. Amar applies the Nixon factors in responding to

and refuting the arguments in JPMC’s Motion. Each of JPMC’s unfounded objections to the

Subpoena is addressed in turn.

           A. Requests 1 and 2 Seek Specific Documents That Have Not Been Produced
              and Should Not Be Quashed

              Request 1: Documents and Communications related to internal discussions
              involving                      (identified as “Executive-1” in the Criminal
              Complaint and “Head of Corporate Development” in the Civil Complaint)
              and other JPMC employees in or about March 2021 regarding her views,
              and the views of other JPMC employees, as to whether Frank was an
              appealing acquisition target for JPMC due to the marketing potential of
              Frank’s large customer base, as referenced in ¶ 19(a) of the Criminal
              Complaint and ¶ 38 of the Civil Complaint.

              Request 2: Documents and Communications related to internal discussions
              involving                       and other JPMC employees in or about
              March 2021 regarding alleged representations regarding the marketing
              potential of Frank’s large customer base, as referenced in ¶ 19(a) of the
              Criminal Complaint.

       With respect to Requests 1 and 2, JPMC contends that it already has produced documents

from                      and intends to produce additional documents in or about March 2021,

which is outside the time frame of the Government’s subpoena. JPMC argues, however, that these

requests lack sufficient specificity because they ask for “internal discussions” about




10
  For the Court’s convenience, Exhibit A, annexed hereto, summarizes the proposed custodians,
time periods, and search terms to narrow and clarify the Subpoena.


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         and “other JPMC employees’ views” about whether Frank was an appealing acquisition

target. See Mot. at 49-50.

       To begin, Requests 1 and 2 are sufficiently specific. The requests seek documents and

communications regarding internal discussions about the views of                   and “other JPMC

employees” regarding: (i) whether Frank was an appealing acquisition target for JPMC due to the

marketing potential of Frank’s large customer base; and (ii) alleged representations regarding the

marketing potential of Frank’s large customer base. The specific subject matter at issue provides

adequate notice of a reasonable time frame—i.e., the period of initial outreach in March 2021,

prior to the commencement of due diligence (in July 2021). But for avoidance of doubt, Mr. Amar

seeks responsive documents only for the time period of March 23, 2021, to June 30, 2021.

       JPMC also takes issue with Mr. Amar’s request for documents regarding the views of

“other JPMC employees” and criticizes Mr. Amar for not specifying particular individuals. See

Mot. at 50. JPMC’s confusion is surprising, given that each of these requests is tethered to

Paragraph 19(a) in the Criminal Complaint, which parrots allegations in the Civil Complaint that

JPMC itself drafted. Compare Crim. Compl. ¶ 19(a), with Civ. Compl. ¶ 38 (referring to “another

executive at JPMC”). Regardless, JPMC’s productions to date strongly suggest that the following

individuals communicated about Frank’s acquisition appeal and alleged misrepresentations

regarding its marketing potential during the March 23 to June 30, 2021 time period:



                                        JPMC has not produced any communications from these

custodians for this narrowed time period. Indeed, for some of these custodians (

                       ), JPMC has not searched or produced documents from their custodial files.




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       JPMC’s productions to date demonstrate that such communications likely exist. For

example, on March 23, 2021, Frank board member                              pitched Frank to JPMC

employee                     over email, which culminated in a March 29, 2021 meeting between

Ms. Javice,                                             . See USAO_Rel_000113533 (



                      ). The following month,           told Ms. Javice he wanted to continue their

discussions and arranged a meeting. See USAO_Rel_000114945 (



           ). In May, Ms. Javice and            met, and he connected her with                      .

USAO_Rel_000967384 (

                                       ). JPMC has not searched or produced any custodial files of

       or             , nor has it explained why                  communications are relevant but

those of         or             (or their respective teams) are not. See USAO_Rel_001714061

(

                                                                                    ).11 To be clear,

the Government has alleged that Ms. Javice and Mr. Amar committed fraud in connection with the

sale of Frank to JPMC. The documents produced in this case reveal that JPMC’s discussions with

Frank began in March 2021 with specific individuals. Mr. Amar is entitled to those documents to

put on his defense.




11
  Mr. Amar understands that JPMC has not searched and produced communications from before
July 1, 2021, in response to the Government’s subpoenas. Mr. Amar reserves his right to seek
additional documents from additional custodians involved in these early Merger discussions.


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   B. Requests 3, 4, 6, 7, 8, 9, and 10 Seek Specific Documents That Have Not Been
      Produced and Should Not Be Quashed

      Request 3: Documents and Communications related to internal discussions
      of the content and subject matter of the alleged July 2, 2021 email from Ms.
      Javice to                       , as referenced in ¶ 19(b) of the Criminal
      Complaint, including related to the alleged representation by Ms. Javice to
                           that Frank had “5.6M active households in the US and
      . . . will end the year with close to 10M families,” and how that
      representation impacted the decision to proceed with the Acquisition and/or
      the price that JPMC paid to acquire Frank.

      Request 4: Documents and Communications related to internal discussions
      regarding the 18-page pdf of a PowerPoint presentation regarding Frank
      (defined in the Criminal Complaint as the “July 2 Pitch Deck”), as
      referenced in ¶ 19(b) of the Criminal Complaint, its purported
      representation that Frank had 4.25 million users, and its alleged impact on
      the decision to proceed with the Acquisition and/or the price that JPMC paid
      to acquire Frank.

      Request 6: Documents and Communications related to internal discussions
      regarding the 60-page PowerPoint presentation regarding Frank (defined in
      the Criminal Complaint as the “July 7 Pitch Deck”), as referenced in ¶ 19(d)
      of the Criminal Complaint, its purported representation that Frank had 4.25
      million users, and its alleged impact on the decision to proceed with
      Acquisition and/or the price that JPMC paid to acquire Frank.

      Request 7: Documents and Communications related to internal discussions
      regarding the spreadsheet allegedly uploaded to the “data room” by Ms.
      Javice on or about July 8, 2021 (defined in the Criminal Complaint as the
      “Spreadsheet”), as referenced in ¶ 19(e) of the Criminal Complaint and ¶ 54
      of the Civil Complaint, and its alleged impact on the decision to proceed
      with Acquisition and/or the price that JPMC paid to acquire Frank.

      Request 8: Documents and Communications related to internal discussions
      of the content and subject matter of the alleged July 9, 2021 email from
                      (identified in the Criminal Complaint as “a JPMC
      employee”), to the investment advisors representing Ms. Javice regarding
      next steps and due diligence meetings, as referenced in ¶ 19(f) of the
      Criminal Complaint.

      Request 9: Documents and Communications related to internal discussions
      of the content and subject matter of the alleged August 4, 2021 email from
      Ms. Javice to                   (identified in the Criminal Complaint as
      “Executive-2”) regarding Frank’s user breakdown according to “the
      Spreadsheet,” as referenced in ¶ 19(h) of the Criminal Complaint.




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               Request 10: Documents and Communications related to internal discussions
               of the content and subject matter of the alleged August 1, 2021 email from
                                      describing the information about Frank user data
               sought by JPMC, as referenced in ¶ 21(d) of the Criminal Complaint and ¶¶
               5 and 64 of the Civil Complaint.

        JPMC contends that Requests 3, 4, 6, 7, 8, 9 and 10 seek documents already produced and

otherwise fail for lack of specificity. See Mot. at 50-55. JPMC’s arguments fail.

                    i. JPMC’s Approach to Requests 3, 4, 6, 7, 8, 9, and 10 Falls Short, and
                       These Requests Seek Documents That Have Not Been Produced

        For Requests 3, 7, 8, 9, and 10, JPMC contends it has previously produced “all documents

containing” the documents referenced in each of the requests, namely:

        “all documents containing” the July 2, 2021 email from Javice to         referenced
         in ¶ 19(b) of the Criminal Complaint and responsive, non-privileged documents from
                        custodial file, Mot. at 50;

        “all documents containing” the Spreadsheet, including all JPMC internal communications
         with the Spreadsheet as an attachment, as well as the July 8, 2021 Email referenced in
         19(e) of the Criminal Complaint, id. at 53;

        “all documents containing” the July 9, 2021 email from             to investment advisors
         representing Ms. Javice referenced in ¶ 19(f) of the Criminal Complaint and responsive,
         non-privileged documents from           custodial file, id. at 53;

        “all documents containing” the August 4, 2021 email from Javice to       referenced
         in ¶ 19(h) of the Criminal Complaint and responsive, non-privileged documents from
                    custodial file, id. at 54;

        and “all documents containing” the August 1, 2021 email from                referenced
         in ¶ 21(d) of the Criminal Complaint and responsive, non-privileged documents from
                        custodial file, id. at 54. According to JPMC, this suffices.

        But Mr. Amar does not seek only documents containing the July 2, July 8, July 9, August

4, and August 1, 2021 emails—Mr. Amar seeks discussions regarding the substance of these emails

and the points raised therein. For Request 3, Mr. Amar seeks discussions regarding Ms. Javice’s

alleged representation in the July 2 email that Frank had “5.6M active households in the US and




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. . . will end the year with close to 10M families,” and how that representation impacted the

decision to proceed with the acquisition and/or the price that JPMC paid to acquire Frank. For

Request 8, Mr. Amar seeks discussions regarding the next steps and due diligence meetings

referenced in the July 9 email.12 For Request 7, Mr. Amar seeks internal discussions about “the

Spreadsheet” containing user data allegedly uploaded to the data room by Ms. Javice and discussed

internally by JPMC employees on July 8, 2021, not merely the spreadsheet. JPMC has not even

searched the custodial files of all JPMC employees discussing the spreadsheet in the email

referenced in ¶19(e) of the Criminal Complaint. See USAO_Rel_000022234 (



            ). JPMC has not searched and produced documents from                at all. For Request

9, Mr. Amar seeks discussions regarding the August 4 email and the user breakdown referenced

therein. For Request 10, Mr. Amar seeks the internal discussions prompting

description of information sought by JPMC and why that information would be necessary to move

forward with the acquisition of Frank, as referenced in the August 1 email. JPMC’s productions to

date, and its proposed approach, do not adequately respond to these requests. Agreeing to produce

documents containing these foundational materials does not adequately respond to these requests.

       Similarly, for Requests 4 and 6, JPMC agrees to “review its files and produce any other

responsive, non-privileged JPMC internal communications” that include the July 2 Pitch Deck, the

July 7 Pitch Deck, and the Spreadsheet as attachments. Mot. at 51-52. But Mr. Amar does not only

seek emails attaching the July 2 Pitch Deck, the July 7 Pitch Deck, and the Spreadsheet as

attachments—Mr. Amar seeks communications discussing the July 2 Pitch Deck, the July 7 Pitch


12
   In particular, Mr. Amar seeks discussions regarding the “internal conversations” that apparently
took place on July 9, 2021, causing JPMC to “push ahead full steam” with diligence, as referenced
in           email. See USAO_Rel_001734504.


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Deck, and the Spreadsheet as attachments, and the purported representations contained therein.

Common sense dictates that relevant information will be found in readily identifiable related

materials that do not necessarily attach the July 2 Pitch Deck, the July 7 Pitch Deck, and the

Spreadsheet. Indeed, by producing the communications attaching these materials (and agreeing to

search for additional communications attaching the materials), JPMC has conceded the relevance

of those subject matters. It defies logic to contend that communications discussing the same

materials, but that do not attach the referenced docs, are somehow not equally responsive, relevant,

and ascertainable. As such, JPMC’s offer to provide additional documents falls short, and JPMC

should be required to review and produce any threads, offshoots, and other related types of

communications concerning the July 2 Pitch Deck, the July 7 Pitch Deck, and the Spreadsheet.

                   ii. Requests 3, 8, 9, and 10 Are Sufficiently Specific

       JPMC erroneously contends that Requests 3, 8, 9, and 10 seek documents from a three-

year period and from unidentified individuals. Mot. at 50-51, 53-55. Again, JPMC is wrong, and

Requests 3, 8, 9, and 10 are sufficiently specific.

       Request 3. To start, Request 3 targets discussions pertaining to a July 2, 2021 email from

Ms. Javice to                regarding Frank households and users. As such, Mr. Amar agrees to

limit Request 3 to the discrete time period of June 28, 2021, to September 15, 2021 and from

January 1, 2022 through March 31, 2022. This includes the initial diligence period (June 28 to

Sept. 15) and the 2022 time period when JPMC began re-reviewing diligence materials for

representations regarding Frank’s users and discussing the materiality or lack thereof of such

representations. JPMC easily could run targeted search terms during this narrowed time period to

gather documents responsive to this request. See Ex. A.

       As to the custodians for Request 3, JPMC’s productions to date confirm that JPMC

employees (beyond                    ) were involved in such discussions:


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                                              . JPMC has not produced any documents for

                                                   despite documents demonstrating their key

involvement. See, e.g., USAO_Rel_001713238 (




          ); USAO_Rel_001720464 (

                                                                                                  );

USAO_Rel_001731630



                                         ).

        Request 8. Similarly narrow is Request 8, which targets discussions pertaining to a July 9,

2021 email from                 to Ms. Javice and her investment advisors regarding “a number of

internal conversations” and JPMC’s plan to push “full steam ahead” with diligence. Mr. Amar

agrees to limit Request 8 to the discrete time period of June 28 to July 11, 2021. As to custodians,

JPMC’s productions to date confirm that JPMC employees (beyond                     ) were involved

in such discussions about the lead up to diligence, including

           . See, e.g., USAO_Rel_001711931 (



     ); USAO_Rel_000005923 (



                          ). JPMC has not searched or produced the custodial files of any of these

critical individuals.




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       Request 9. Request 9 targets discussions pertaining to an August 4, 2021 email between

          and Ms. Javice regarding Frank’s user metrics according to “the Spreadsheet.” As such,

Mr. Amar agrees to limit Request 9 to the discrete time period of July 6, 2021, to September 15,

2021. This roughly two-month period is the diligence period when Frank’s users—the subject of

the alleged misrepresentation—were discussed. JPMC easily could run targeted search terms

during this narrowed time period to gather documents responsive to this request. See Ex. A.

       Request 10. Request 10 targets discussions pertaining to an August 1, 2021 email from

              to Ms. Javice regarding the user data sought by JPMC. As such, Mr. Amar agrees to

limit Request 10 to the discrete time period of July 7, 2021, to August 8, 2021—a fraction of the

initial diligence period in which these discussions took place. As to custodians, JPMC’s

productions to date confirm that JPMC employees (beyond                     ) were involved in such

discussions, including

                         . See, e.g., USAO_Rel_001732704 (



          ). JPMC easily could run targeted search terms during this narrowed time period to

gather documents responsive to this request. See Ex. A.

                  iii. Requests 4, 6, and 7 are Sufficiently Specific

       Requests 4, 6, and 7 also are sufficiently specific. JPMC incorrectly relies on the general,

default instruction setting forth a three-year time period and ignores the context contained in the

requests themselves (a point Mr. Amar easily could have clarified had JPMC sought a good-faith

conferral earlier than the day its motion was due). These requests target discussions pertaining to

specific documents from July 2, 7, and 8, 2021, and certain information referenced therein. As

such, Mr. Amar clarifies that Requests 4, 6, and 7 are limited to the discrete time period of July 2,

2021, to September 15, 2021—the time period in which the referenced Frank pitch and diligence


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materials were actively discussed. By producing documents that attach the decks and spreadsheets

referenced in these requests, JPMC has conceded the relevance of such materials. For Request 4,

JPMC’s productions to date confirm that                 participated in discussions regarding the

July 2 Pitch Deck. See, e.g., USAO_Rel_000070381 (

                                                                                     ). JPMC has

not searched or produced documents from Barnes’s custodial file at all.

           C. Mr. Amar Agrees to Withdraw Request 5

              Request 5: Documents and Communications sufficient to identify who from
              JPMC had access to the “data room” opened by Frank on or around July 6,
              2021, as referenced in ¶ 19(c) of the Criminal Complaint and ¶ 42 of the
              Civil Complaint.

       JPMC contends that it has produced documents in response to Request 5. For Request 5,

Mr. Amar asked that JPMC confirm which JPMC employees had access to the data room. In its

December 14 letter to Mr. Amar, JPMC represented that it is unable to confirm every employee

who had access to the data room. Therefore, Mr. Amar agrees to withdraw Request 5.

           D. Requests 11 and Request 12 Seek Specific Documents That Have Not Been
              Produced and the Requests Should Not Be Quashed

              Request 11: Documents and Communications related to internal discussions
              of the content and subject matter of the alleged August 3–5, 2021 emails
              from                  to Ms. Javice regarding the appropriate use of “unique
              identifiers” for personal identifying information, the data validation report
              JPMC sought from Frank, the template for the data validation report that
              JPMC sought from Frank (defined in the Criminal Complaint as the
              “Template Report”), and confirming completion of JPMC’s data validation
              request, as referenced in ¶¶ 21 and 25 of the Criminal Complaint and ¶ 67
              of the Civil Complaint.

              Request 12: Documents and Communications related to discussions
              between            and Acxiom (identified in the Criminal Complaint




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                 as “Vendor-1”) in or around August 2021 regarding JPMC’s validation
                 request for Frank data, as referenced in ¶ 26(b) of the Criminal Complaint.13

          JPMC contends that Requests 11 and 12 lack specificity and otherwise seek documents it

has already produced. See Mot. at 55-56. JPMC’s arguments once again fail. On this first point,

JPMC moved to quash based on the three-year time period provided in the Subpoena’s general

instructions rather than engage with Defendants on a common-sense narrowing of the requests.

See id. To clarify, Requests 11 and 12 specifically target documents and communications related

to: (i)             discussions with Javice from August 3-5, 2021 in emails regarding the data

validation report; and (ii)              communications with Acxiom in or around August 2021

regarding the validation of Frank data and internal discussions regarding the same. As such, Mr.

Amar agrees to limit Requests 11 and 12 to the discrete time period of July 14, 2021, to September

14, 2021.

          JPMC also contends it satisfied Request 12 because it has produced at least 4,031

documents that reference “Acxiom” and 1,072 documents of                      . See id. But JPMC’s

response reveals its shortcomings. Following Mr. Amar’s initial conferral with JPMC, he

preliminarily agreed to withdraw Request 12 if JPMC could confirm that                       was the

sole JPMC employee who interacted with Axciom regarding its validation of Frank’s user data.

Although JPMC has since confirmed that to the “current extent of JPMC’s knowledge”

             was the only JPMC employee who “directly interacted” with Axciom, JPMC’s

documents productions reveal that                  discussed Axciom’s data validation exercise with

several key custodians (e.g.,



13
  Each of these requests seeks information related to Frank’s “data validation” exercise of Frank’s
user data, which it performed through a third-party vendor, Acxiom. Mr. Amar understands this
was a condition to close initiated on August 1, 2021.


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       ) during the narrowed time period. See USAO_Rel_001760080 (



                                  ); USAO_Rel_001713115 (



                                     ). Further, custodian                      discussed the data

validation process and her thinking behind it with JPMC employee                             (not a

custodian) on August 2, 2021. See USAO_Rel_001735152 (



                                                                                                 ).

Given the exclusion of           from JPMC’s custodian list and that JPMC has not run “Axciom”

as a standalone search term across its custodians for this narrowed time period, its productions to

date do not adequately respond to this request. In light of this fact, JPMC’s offer to “review its

files of [         ] and produce any other communications related to discussions between

[         ] and Acxiom in or about early August 2021” only partially addresses the issue. Mr.

Amar requests that JPMC search the files of                  and the custodians listed above for

communications involving “Axciom,” and other related terms during the narrow time period

specified. See Ex. A.

             E. Requests 13 and 14 Seek Specific Documents That Have Not Been Produced
                and Should Not Be Quashed

                Request 13: Documents and Communications related to internal discussions
                of the content and subject matter of the alleged January 6–10, 2022 emails
                from                     (identified in the Criminal Complaint as the
                “Marketing Executive”) regarding the transfer of certain data files, as
                referenced in ¶ 32(a) of the Criminal Complaint and ¶ 164 of the Civil
                Complaint.

                Request 14: Documents and Communications related to internal discussions
                of the content and subject matter of the alleged other purported user data



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               files sent by Ms. Javice to JPMC, as referenced in ¶ 32(b) of the Criminal
               Complaint.

       JPMC contends that Requests 13 and 14 seek documents it has already produced and

otherwise fail for lack of specificity. See Mot. at 56-57. JPMC’s arguments should be rejected.

       On the first point, JPMC contends that having produced the emails referenced in ¶ 32(a) of

the Criminal Complaint as well as the user data files referenced in ¶ 32(b) of the Criminal

Complaint, JPMC has satisfied these requests. 14 See id. JPMC’s limited production of the

underlying documents referenced in ¶¶ 32(a)-(b) of the complaint and                      files does

not address Requests 13 and 14. Requests 13 and 14 target documents and communications

regarding the user data provided to JPMC, rather than the January 6–10, 2022 emails or the user

data files themselves. As for JPMC’s claim that it cannot search for emails that may attach the user

data files, Mot. at 57, JPMC could easily run targeted search terms resulting in the identification

of such correspondence. See Ex. A.

       On the second point, Requests 13 and 14 are sufficiently specific. JPMC contends that

Requests 13 and 14 fail to specify “individuals over a nearly three-year time period.” Mot. at 56-

57. Again, JPMC’s confusion is surprising, given that Request 13 is tethered to Paragraph 32(a) in

the Criminal Complaint, which parrots allegations in the Civil Complaint that JPMC itself drafted.

Compare Crim. Compl. ¶ 32(a), with Civ. Compl. ¶ 164. What is more, JPMC moves to quash an

entire subpoena request on the basis of a date range that Mr. Amar easily could have clarified in a

conferral. To be clear, these requests target particular discussions at a time when JPMC received

and analyzed user data files provided by the Frank team (a time that is part and parcel of the fraud




14
  JPMC notes it will search for and produce responsive documents from                        , with
respect to Request 13. Mot. at 56.


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allegations in this case). As such, Mr. Amar agrees to limit Requests 13 and 14 to the discrete time

period of January 1, 2022, to March 31, 2022.

       As to custodians, JPMC employees beyond                          were involved in analyzing

Frank’s user data for marketing purposes, including

                                                                                    . Indeed, these

individuals engaged in the email exchanges quoted in 32(a) of the Criminal Complaint. JPMC’s

failure to search or produce any of their documents is puzzling. See, e.g., USAO_Rel_001194563

(

                     ); USAO_Rel_000598413 (

                                                          ); JPMC_01150818 (



                    ).

           F. Request 15 Seeks Specific Documents That Have Not Been Produced and
              Should Not Be Quashed15

               Request 15: Documents and Communications related to JPMC’s decision
               to offer $175 million to acquire Frank and how JPMC arrived at that
               valuation.

       JPMC contends that Request 15 seeks documents it has already produced and lacks

specificity. See Mot. at 57-58. Again, both of JPMC’s arguments fail.

       On the first point, JPMC contends that it has satisfied this request because it has produced

“valuation documents” and “materials that were prepared in advance of JPMC’s deal review forum


15
  On December 7, 2023, Mr. Amar asked JPMC whether JPMC had “an acquisition committee or
other body that reviewed and/or approved the Frank acquisition.” On December 14, JPMC replied,
indicating that JPMC “does not have an acquisition committee,” but that the Frank acquisition was
“reviewed and approved by the Management Leadership Team (“MLT”) for Consumer &
Community Banking.” JPMC has not yet identified the members of the MLT. As such, Mr. Amar
reserves his right to seek additional documents from those committee members.


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regarding Frank, in which JPMC’s key decisionmakers convened to discuss and approve deals.”

See id. But JPMC misses the finer point. Mr. Amar seeks documents and communications from

key decisionmakers whose custodial files have not been searched or produced regarding the

decision to acquire Frank at a purchase price of $175 million. Such discussions from key

decisionmakers regarding the purchase price are essential given JPMC’s analyses reflecting that

the overwhelming majority of Frank’s value was derived from its “goodwill.” See

USAO_Rel_001720902-903 (

                                                               ). JPMC’s production of certain

valuation documents and internal assessment materials does not obviate Mr. Amar’s need for

additional documents from key individuals responsive to this request.

       On the second point, JPMC moves to quash Request 15 because it fails to specify “any

identification of individuals over a nearly three-year time period.” Mot. at 58. JPMC again is

wrong. As to time period, Request 15 targets documents and communications possessed or

exchanged by key decisionmakers at JPMC as they relate to the valuation of Frank at $175 million

in a five to sixth-month period leading up to the Merger. Therefore, Mr. Amar agrees to limit

Request 15 to the discrete time period of March 31, 2021, to September 14, 2021.

       As to custodians, JPMC’s productions to date suggest that the following JPMC employees

were involved in discussions about whether to acquire Frank and, presumably, for how much given

its value add to JPMC:

                                                                                   JPMC has not

searched for or produced the custodial files of                         despite documents showing

their involvement on this topic. See, e.g., USAO_Rel_001806618 (




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                                                                                                 );

USAO_Rel_001711931 (

                                        ).

       And while JPMC has represented that it has searched the custodial files of                 ,

                                                 for responsive materials, internal communications

specifically discussing JPMC’s decision to offer $175 million to acquire Frank and how JPMC

arrived at purchase price remain outstanding. To support its argument that Request 15 has been

satisfied, JPMC points to documents that post-date the decision to acquire Frank at a price of $175

million. A retrospective reference to the price tag without the underlying assumptions justifying

the purchase price does not suffice. See e.g., Mot. at 58 n.44 (citing USAO_Rel_001889003,



         ). Mr. Amar therefore requests that JPMC run additional search terms on its existing

custodians (as well as those of                         , whose documents have not been searched

and produced) during the narrowed time frame. See Ex. A.

           G. Request 16 Seeks Specific, Relevant Documents and Should Not Be Quashed

               Request 16: Documents and Communications regarding all transactions
               prior to July 2021 in which JPMC purchased student data from ASL
               Marketing, Acxiom LLC, or other data vendors.

       JPMC contends that Request 16 lacks specificity and “seeks documents that are wholly

irrelevant to the charges in the Indictment.” Mot. at 58. JPMC’s arguments fail.

       On the first point, JPMC contends that Mr. Amar does not identify “individuals from whom

information is sought.” See id. As to custodians, JPMC’s productions to date confirm that the

following JPMC employees have been involved in student data purchases on behalf of JPMC:



                                             .


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        As to relevance, the Government’s primary allegations against Mr. Amar, as referenced in

¶ 29 of the Criminal Complaint and subtitled “CC-1 Purchases an Incomplete Student Data Set

from Vendor-2,” relate to his alleged purchase of data from ASL Marketing. While both JPMC

and the Government portray the purchase of customer data on the open market as part of a

fraudulent scheme, see Crim. Compl. ¶¶ 13, 28-29; Civ. Compl. ¶¶ 122, 124, 128, 133-142, start-

ups and larger corporations alike regularly engage in the practice of buying and selling user data

for reasons within normal course of business. Buying and selling student lists is a prominent

practice for any company attempting to target potential college-aged consumers, as the requested

documents will show.

        Furthermore, the requested documents are squarely relevant to materiality. Documents

regarding JPMC’s frequent experience with buying student data will demonstrate its familiarity

with the fair market value of customer data. While Frank’s user base was one aspect of JPMC’s

decision to purchase Frank, it was not a material one, and would not alone have warranted

anywhere near the $175 million valuation price. Contra Crim. Compl. ¶ 12; Civ. Compl. ¶¶ 182-

185. Indeed, documents produced to date demonstrate that the purchase price was primarily

determined by factors outside of Frank’s existing customer accounts—for example, JPMC placed

a premium on Frank’s partnerships. See USAO_Rel_001722002 at



                        ); see also USAO_Rel_001730711 (




              ). Request 16 seeks documents that exist, which have not been produced, that bolster

this point.




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           H. Requests 17, 18, and 19 Seeks Specific Documents That Have Not Been
              Produced and Should Not Be Quashed

               Request 17: Documents and Communications sufficient to identify who
               from JPMC attended the following meetings or calls:

                 a. July 1, 2021 call between Ms. Javice and
                           , and potentially other JPMC representatives;

                 b. July 7, 2021 meeting in which Ms. Javice allegedly delivered a
                    management presentation to JPMC’s representatives, accompanied by
                    a 60-page PowerPoint deck, as referenced in ¶ 19(d) of the Criminal
                    Complaint;

                 c. July 12, 2021 diligence meeting with Ms. Javice, as referenced
                    in ¶ 19(g) of the Criminal Complaint and ¶ 43 of the Civil Complaint;

                 d. July 13, 2021 diligence meeting with Ms. Javice, as referenced
                    in ¶ 19(g) of the Criminal Complaint and ¶ 44 of the Civil Complaint;

                 e. July 19, 2021 diligence meeting with Ms. Javice, as referenced in ¶ 48
                    of the Civil Complaint;

                 f. July 20, 2021 diligence meeting with Ms. Javice, as referenced in ¶ 48
                    of the Civil Complaint; and

                 g. August 2, 2021 Zoom call between                    , Ms. Javice, and
                    potentially other JPMC representatives, as referenced in ¶ 21(e) of the
                    Criminal Complaint.

               Request 18: Written or electronic notes of oral Communications from the
               meetings referenced in Request 17, including drafts of such notes or
               memoranda.

               Request 19: Documents and Communications related to internal discussions
               of the content and subject matter of the meetings referenced in Request 17,
               including regarding:

                  a. Ms. Javice’s alleged statements in the July 12, 2021 diligence
                     meeting with respect to Frank’s definition of “user,” as referenced
                     in ¶ 19(g) of the Criminal Complaint; and

                  b. Mr. Amar, his presence, and any representations or statements made
                     by him.

       JPMC asserts that it has already searched for and produced documents responsive to these

requests and that Request 19 otherwise fails for lack of specificity. See Mot. at 58-60. JPMC agreed


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to conduct further review for additional non-privileged documents responsive to Request 17 and

for documents attaching the “July 12, 2021 Diligence Meeting Notes.” Id at 60.16

       On the first point, JPMC’s reliance on its prior productions falls short of responding to

Requests 17, 18, and 19. Mr. Amar seeks attendance records for these key diligence meetings and

notes from all meeting attendees, including non-custodians. JPMC has not reviewed non-custodian

attendees’ documents for materials responsive to Requests 17, 18, and 19. Indeed, JPMC points

Mr. Amar to a series of documents that actually demonstrate that additional searches for notes or

communications related to these meetings are necessary. For example, JPMC points to

USAO_Rel_001878050 as support, explaining that it is an “email circulating notes from July 19

and 20, 2021 meetings.” Mot. at 59 n. 45. The document demonstrates that more than fifty

individuals are listed as purported attendees, many of whom are not custodians. See id. Further,

the notes JPMC has produced reveal that multiple individuals’ notes were eventually combined

into a final version of notes for the July 12 and 13 diligence meetings. See, e.g.,

USAO_Rel_002168346 (



                                                ). JPMC has not produced its employees’ individual

notes that were ultimately compiled into the final version, notwithstanding that dozens of people

appear to have attended these meetings, or any prior drafts of the final version of notes circulated

to the wider team.

       On the second point, Request 19 is sufficiently specific. JPMC contends that Request 19

fails to specify “particular individuals over a nearly a three-year time period.” Mot. at 60. In fact,



16
  JPMC subsequently represented that it has not located additional documents in response to
Request 17.


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Request 19 targets specific representations made by Ms. Javice or Mr. Amar in the July 12, 2023

meeting. Mr. Amar requests that JPMC search for relevant notes between July 1, 2021 and

September 15, 2021. As to custodians, JPMC’s productions to date confirm that the following

individuals attended and may have notes from the meetings enumerated in Requests 17-19



         . JPMC’s productions to date indicate that each of these individuals were present at

diligence or internal meetings discussing diligence material, and some were designated as “lead”

employees on particular diligence workstreams.17 JPMC could easily run targeted search terms

across these individuals’ documents (as well as any other individuals who attended the meetings,

per the above) and locate responsive documents. See Ex. A.

       JPMC’s offer to “review its files and produce any other responsive, nonprivileged JPMC

internal communications that included the July 12, 2021 Diligence Meeting Notes”18 referenced

in Request 19, see Mot. at 61, is therefore insufficient and does not address, let alone cure the issue

of missing drafts, additional notes, and discussions about the notes referenced above. Additionally,

by producing documents that include or attach the July 12, 2021 meeting notes, JPMC has

conceded the relevance of such materials. There thus can be no doubt that other communications

discussing the substance of those documents, or the subjects discussed in them—but that

themselves do not attach the actual compiled notes—are equally relevant, limited in scope, and



17
   See, e.g., USAO_Rel_001711931; USAO_Rel_001711913; USAO Rel 000674272;
USAO_Rel_000677391; USAO_Rel_000677371; USAO_Rel_000732214 (        ).
18
  On December 14, 2023, JPMC informed Mr. Amar that, in response to Request 19(b), JPMC
represents that it “does not have in its possession, custody or control Zoom call logs from July
2021.” However, Mr. Amar has requested documents and communications regarding not only his
presence but also representations he purportedly made. Again, JPMC’s response is insufficient and
does not address, let alone cure, this issue.


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easily identified given the narrowed time frames proposed below. Such requests are not arbitrary

and are focused on a limited subset of relevant communications that are material to the defense.

           I. Request 20 Seeks Specific Documents and Should Not Be Quashed

               Request 20: Documents and Communications regarding JPMC’s review of
               reports from Frank’s auditors and accountants that JPMC considered in its
               decision to acquire Frank, including any reports from Frank’s auditors and
               accountants.

       JPMC moves to quash Request 20 for a purported lack of specificity. Mot. at 60-61. In

particular, JPMC argues that Mr. Amar does not “identify individuals from whom information is

sought over a nearly three-year period,” does not “identify any of Frank’s auditors and accountants

by name,” and does not point to “specific reports that they may have generated in connection with

the Merger.” Id. at 61. Once again, JPMC’s wholesale request to quash this request could have

been resolved after a conferral. Mr. Amar understands that Frank utilized Wells Group, Deloitte,

and PWC Israel in connection with certain audit reports. Whether and to what extent JPMC

considered Frank’s prior audit reports or waived requiring such a report is relevant to the element

of materiality as previously noted by Your Honor. See July 13, 2023 Hr’g Tr. at 5:21-6:8. Mr.

Amar, too, would expect to see internal discussions regarding any reports (or lack thereof) from

Frank’s auditors and accountants.

           J. Request 21 Seeks Specific, Relevant Documents That Have Not Been
              Produced and Should Not Be Quashed

               Request 21: Written or electronic notes of oral Communications from
               meetings between Mr. Amar and                  in or around July–August
               2021, including drafts of such notes or memoranda.19




19
   In a scrivener’s error, the Subpoena inadvertently identified the time period as July–August 2021
rather than 2022.


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       JPMC contends that Request 21 seeks documents it has already produced and otherwise

fails for lack of specificity and relevance. See Mot. at 61-62. JPMC’s arguments should be rejected.

       On this first point, JPMC contends that it satisfied this request because it produced “[Mr.]

Amar’s documents and communications in response to the Government’s subpoenas.” Id. at 61.

But Mr. Amar’s custodial file obviously does not contain             notes, which Mr. Amar seeks

through this request.

       JPMC otherwise contends that Mr. Amar “has provided no explanation” for why

should be made a custodian. Id. at 60-61. To start,              was heavily involved in the Frank

integration process—a fact that is readily confirmed by JPMC productions to date. See, e.g.,

USAO_Rel_000109415 (

                                                               ); USAO_Rel_000759603 (



         ). Further, Mr. Amar had meetings with                  in or around July to August 2021

about issues with the Frank integration process and documents produced by JPMC confirm as

much. See, e.g., USAO_Rel_000543363 & USAO_Rel_000641379 (



                         ). Mr. Amar believes that          took notes at these meetings.

       JPMC’s contention that such notes are irrelevant to the allegations in the Indictment strains

credulity. As previously discussed, post-Merger conduct is directly relevant to the charges against

Mr. Amar. See supra at § II.C (Relevance); see also Indictment ¶ 1 (defining the conspiracy time

frame from “in or about June 2021 through at least in or about November 2022”); Crim. Compl.

¶¶ 32-33 (allegations involving Mr. Amar outlined in a section entitled, “The Fraud Continues

Post-Acquisition”). After the acquisition, Frank employees prepared monthly presentations for




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JPMC decisionmakers on the status of Frank’s integration efforts, including Frank’s growth in user

numbers and compliance concerns, among other issues. See, e.g., USAO_Rel_000021432 (

                                                             ); USAO_Rel_000793167 (

                                                                           ). In a case centered on

alleged misrepresentations about user metrics, post-Merger discussions about those same metrics

(with                 , among others) is directly relevant to Mr. Amar’s defense.

           K. Requests 22 and 24 Seek Specific Documents That Have Not Been Produced,
              Are Admissible, and Should Not Be Quashed

               Request 22: Documents and Communications related to JPMC’s assessment
               of the scalability of Frank’s FAFSA submitter.

               Request 24: Documents and Communications regarding any changes in
               laws, policies, and procedures that had an impact on Frank’s business
               model, including Frank’s FAFSA submitter.

        JPMC contends that Requests 22 and 24 seek documents it has previously produced and

otherwise fail for lack of specificity. Mot. at 62-63. JPMC additionally argues that Request 24

seeks privileged documents and thus fails for lack of admissibility. Mot. at 63. JPMC’s arguments

should be rejected.

        On this first point, JPMC contends it has already satisfied this request because it

“previously produced information related to JPMC’s assessment of the scalability of Frank’s

FAFSA submitter capacity” and “documents concerning the potential impact of laws or policies

on Frank’s business model.” Id. at 62-63. However, JPMC’s productions are insufficient because

they do not include documents from key individuals relevant to both of these requests, and the

documents JPMC cites in its Motion only underscore these glaring holes. For example, documents

make clear that                 —the Defendants’ direct supervisor—was a central figure to both

of these topics, even meeting with the Department of Education about JPMC’s concerns on how

to scale the FAFSA product. See, e.g., USAO_Rel_001774317 (


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                      ); USAO_Rel_002166754 (

                                                             ); USAO_Rel_000277115 (



            ); USAO_Rel_000287700 (




                                  ); USAO_Rel_000286925 (



                      ).

       As such, JPMC’s reliance on previously produced documents is insufficient. They have

not produced documents from key individuals, including                                       , 20

                                                 .

       Further, Requests 22 and 24 are sufficiently specific. JPMC contends these Requests fail

to identify individuals “over nearly a three-year time period.” Mot. at 62-63. Again, a simple

conferral could have resolved JPMC’s incorrect interpretation. These requests target materials

from the discrete time period of May 1, 2022, to August 31, 2022. As indicated above, the

following JPMC employees were key stakeholders in these discussions:

                             . JPMC can easily apply search terms to capture relevant documents

from these custodial files. See Ex. A.




20
                 is listed as a custodian on the list provided by the Government but to date
JPMC has produced none of his documents. As a result, he is included as a custodian for relevant
requests.


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       Lastly, regarding admissibility, to the extent Request 24 seeks privileged documents, such

documents are not per se inadmissible, and JPMC’s arguments on this point should be rejected.

See supra § II.D (Admissibility); see also infra § III.Q (Request 31).

           L. Request 23 Seeks Specific, Relevant, and Admissible Documents and Should
              Not Be Quashed

               Request 23: Documents and Communications related to Chase’s decision in
               July–August 2022 to “Rebuild” (as opposed to “Rebrand”) Frank
               on Chase.com and the motivations, reasons, and business case for that
               decision, including internal Communications of
                                            .

       JPMC moves to quash Request 23 because it lacks specificity and seeks inadmissible,

irrelevant documents. See Mot. at 62-63. All three of JPMC’s arguments fail.

       First, JPMC contends that Request 23 “implicates documents and communications

involving JPMC’s in-house counsel that are protected by attorney-client and work-product

privileges and therefore would be inadmissible at trial.” Mot. at 62. But documents withheld on

privilege grounds are not per se inadmissible, and JPMC offers no legal support for its position.

See infra at § II.D (Admissibility). Regardless, this request also seeks non-privileged documents

from key individuals who are not currently custodians, namely

                                       . See, e.g., USAO_Rel_000641379 (



                                               ).

       Second, Request 23 is sufficiently specific. JPMC apparently takes issue with Mr. Amar’s

request for documents from “three custodians over a two-month time period,” Mot. at 62, but does

not elaborate on why this narrow time frame is not specific enough already. JPMC’s specificity

challenge likewise fails because the Request identifies specific individuals whose documents Mr.

Amar seeks.



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       On the third point, JPMC contends that Request 23 “fails to seek relevant information”

given the post-Merger time frame it targets. See Mot. at 63. Again, contrary to JPMC’s arguments,

post-Merger conduct is directly relevant to the charges against Mr. Amar. See supra at § II.C

(Relevance); see also Indictment ¶ 1 (defining the conspiracy period as “in or about June 2021

through at least in or about November 2022”); Crim. Compl. ¶¶ 32-33 (allegations involving Mr.

Amar contained in a section titled, “The Fraud Continues Post-Acquisition”). JPMC’s insistence

that post-Merger conduct is irrelevant flies in the face of the charging instruments in this case and

the fact that it has produced voluminous documents that post-date the Merger in response to the

Grand Jury Subpoenas. See, e.g., USAO_Rel_001194563 (

                                ); USAO_Rel_000021432 (                                   ). JPMC’s

arguments should be rejected.

           M. Request 25 Seeks Specific Documents That Have Not Been Produced and
              Should Not Be Quashed

               Request 25: Documents and Communications related to JPMC’s assessment
               of the July 2022 marketing campaign to Frank customers, as referenced in
               ¶ 13 of the Criminal Complaint and ¶ 178 of the Civil Complaint.

       JPMC incorrectly contends that Request 25 seeks documents it has already produced and

otherwise fails on specificity grounds. See Mot. at 63-64. JPMC contends that it has satisfied this

request because it “previously produced documents related to JPMC’s assessment of the July 2022

marketing campaign to Frank” and the “marketing campaign results.” Id. at 63 & n.49 (citing a

single document as support).21 But JPMC has not collected documents from critical individuals

who analyzed and discussed the results of the 2022 marketing campaign that allegedly revealed


21
  JPMC’s position on the relevance of post-Merger documents is incoherent. On one hand, JPMC
concedes, as it must, that certain post-Merger documents (i.e., documents concerning the
marketing campaign) are relevant to the charges. On the other, it broadly argues that post-Merger
documents are irrelevant. See Mot. at 10.


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the so-called fraud in this case, including

                                     See, e.g., USAO_Rel_000225641 (

                                                                 ); USAO_Rel_000543291 (

                                                                                                   );

USAO_Rel_000545817 (

                                                                            ).

          Second, Request 25 is sufficiently specific, and Mr. Amar provides additional clarification

to make it more so. As an initial matter, this is another instance of JPMC feigning ignorance where

Mr. Amar’s request is specifically tied to allegations in the Criminal Complaint that mimic

allegations in the Civil Complaint that JPMC itself drafted. Compare Crim. Compl. ¶ 13, with Civ.

Compl. ¶ 178. Putting that aside, Request 25 targets documents and communications in relation to

the July 2022 marketing campaign to Frank customers. As such, Mr. Amar agrees to limit Request

25 to the discrete three-month period from June 1, 2022, to August 31, 2022. Further, Mr. Amar

limits the request to the above-named custodians, individuals who have critical communications

regarding JPMC’s motivation for the July 22 marketing campaign, its results, and its impact on

the business case for Frank.

             N. Mr. Amar Agrees to Withdraw Requests 26 and 27

                 Request 26: A list of JPMC personnel with access to Frank’s Google
                 Analytics platform and the permissions of those with access.

                 Request 27: Documents and Communications related to internal discussions
                 of the content and subject matter of JPMC’s review of Frank’s Google
                 Analytics data in or around the time JPMC received access.

          Based on JPMC’s responses to the Subpoena, Mr. Amar agrees to withdraw Requests 26

and 27.




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           O. Request 28 Seeks Specific, Admissible Documents That Have Not Been
              Produced and Should Not Be Quashed

               Request 28: Documents and Communications related to internal discussions
               of the content and subject matter of JPMC’s Internal Investigation into
               Frank that precipitated the termination of Ms. Javice and Mr. Amar for
               cause on or about November 4, 2022 and October 26, 2022, respectively, as
               referenced in part in ¶ 33 of the Criminal Complaint and ¶¶ 28 and 30 of the
               Civil Complaint.

       JPMC moves to quash Request 28 because it seeks documents that JPMC has already

produced and is not specific. Mot. at 64-66. In addition, JPMC argues that Request 28 seeks

inadmissible documents related to “JPMC’s outside counsel’s investigation.” Id. at 65.

       First, and as discussed supra at § II.A (Documents Not Produced) JPMC has produced

some documents responsive to this Request, including an investigative file for its Internal

Investigation into Ms. Javice and Mr. Amar.22 JPMC did not, however, search the custodial files

of                                      . Mr. Amar understands that              was the principal

investigator and relied heavily on materials and statements from                —Ms. Javice’s and

Mr. Amar’s direct supervisor and the only other person apart from Defendants and Data Scientist-

1 listed in the investigative report. See USAO_Rel_000109697; USAO_Rel_000109715

(                                                             ). For these reasons, JPMC’s reliance

on prior productions is insufficient.

       Second, Request 28 is sufficiently specific. JPMC claims that this Request seeks “seeks

‘documents and communications related to internal discussions’ without any identification of

individuals over a nearly three-year time period.” Mot. at 65. JPMC’s insinuation that its Internal

Investigation somehow took place over a three-year time period is puzzling. Request 28 targets



22
  Again, JPMC’s position on the relevance of post-Merger documents is contradictory. See supra
note 23.


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documents and communications related to the Internal Investigation, for which key interviews

began in June and ended in October. See USAO_Rel_000109715. As such, Mr. Amar suggests a

time period of five months, not three years, from June 1, 2022, to October 31, 2022 and further

narrows his requests to the custodial documents of

       Lastly, regarding the admissibility of documents relating to JPMC’s outside counsel’s

investigation, such documents are not per se inadmissible, and JPMC’s arguments on this point

should be rejected. See supra at § II.D (Admissibility); see also infra at § IV.Q (Request 31).

           P. Requests 29 and 30 Seek Relevant, Admissible Documents and Should Not
              Be Quashed

               Request 29: Documents and Communications exchanged between JPMC
               and the Government concerning interviews of JPMC employees regarding
               the Government’s investigation into Ms. Javice, Mr. Amar, Frank, and the
               Acquisition.

               Request 30: Documents and Communications exchanged between JPMC
               and the Government regarding JPMC’s response to the Subpoenas and any
               narrowing of the Subpoenas.

       JPMC contends that Requests 29 and 30 should be quashed because they seek inadmissible,

irrelevant documents. See Mot. at 66. JPMC asserts, incorrectly, that Mr. Amar “already requested

that this Court issue a Rule 17(c) subpoena” seeking these documents and that “[t]his Court denied

the . . . motion.” Id. In its November 7 Order, the Court found, on the record available, “JPMC . .

. is not part of the government’s prosecution team.” Nov. 7 Order at 1. But the Court did not rule

specifically on Defendants’ alternative request to issue Rule 17(c) subpoenas to JPMC regarding

the Government and JPMC’s coordinated efforts. To the contrary, the Court’s November 7 Order

suggests that Defendants may proceed with issuing subpoenas.

       As was set forth in Defendants’ Motion to Compel, the record available to Defendants to

date contains sufficient evidence that the Government has outsourced its investigation to JPMC,

which has a significant financial incentive in the Government’s successful prosecution of


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Defendants. See Motion to Compel at 24-27. Defendants have only limited insight into the

Government’s and JPMC’s relationship and course of conduct and respectfully submit that Rule

17(c) is the appropriate vehicle for this issue. Determination of the nature and scope of JPMC’s

cooperation is crucial given that the Government has not provided Defendants with all documents

responsive to its subpoenas, and JPMC may be holding back potential Brady and Giglio materials

that are helpful to the defense and would otherwise normally trigger the Government’s disclosure

obligations under Brady and Giglio.

       As such, the requested materials are relevant to the issue of whether the Government has

outsourced its investigation to JPMC and admissible at a subsequent evidentiary hearing on the

same. See United States v. Stein, No. S1 05-cr-888 (LAK), 2006 WL 1063298, at *2 (S.D.N.Y.

Apr. 12, 2006) (approving Rule 17(c) subpoenas in advance of an evidentiary hearing regarding

the defendants’ Sixth Amendment claim that the government had improperly interfered with their

choice of counsel by pressuring their employer to stop advancing legal fees); United States v.

Maxwell, No. 20-cr-330 (AJN), 2021 WL 1625392, at *1 (S.D.N.Y. Apr. 27, 2021) (“While

ordinarily Rule 17(c) is ‘trial-focused’ and ‘may be used only to obtain materials admissible as

evidence at trial,’ at least some courts have held that Rule 17(c) can be used to compel the

production of documents in connection with a suppression hearing.” (quoting United States v.

Louis, No. 04-cr-203 (LTS), 2005 WL 180885, at *3 (S.D.N.Y. Jan. 27, 2005))). 23 In sum,


23
  Cf. Weigand, 520 F. Supp. 3d at 615 (“While admissibility is the second Nixon factor, Rule 17(c)
does not by its terms require that a subpoena seek only admissible evidence. A subpoena for
evidence, itself inadmissible, that could lead to the discovery of admissible evidence, is not
necessarily ‘unreasonable or oppressive.’”); United States v. Smith, No. 19-cr-669 (EEC), 2020
WL 4934990, at *3-4 (N.D. Ill. Aug. 23, 2020) (declining to adopt a “bright-line admissibility
requirement” for subpoena issued to third party) (“[E]ven Nixon did not require absolute certainty
on admissibility or absolute precision in specificity. . . . The key is weighing the likelihood that
the subpoena will uncover relevant evidence and the potential probative force of that evidence,
against the burdens on complying.”).


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Requests 29 and 30 seek relevant, admissible documents and should not be quashed.

          Q. Request 31 Seeks Admissible Documents and Should Not Be Quashed

              Request 31: Documents and Communications listed on the privilege logs
              provided by JPMC to the Government in response to the Government
              Subpoenas, including:

                a. To which Mr. Amar or Ms. Javice was the author, recipient, or copied;

                b. To which                    was the author, recipient, or copied in his capacity
                   as the Chief Operating Officer of Frank or concerning other business-related
                   discussions that did not involve the provision of legal advice;

                c. Involving legal advice provided by Sidley Austin to Ms. Javice or the Frank
                   Board of Directors regarding the potential sale of Frank to Capital One,
                   JPMC, Bank of America, or any other potential buyer;

                d. Memorializing discussions involving the Frank Board of Directors regarding
                   the potential sale of Frank to Capital One, JPMC, Bank of America, or any
                   other potential buyer;

                e. Regarding any diligence questions, reports, timelines, templates, or trackers
                   concerning the potential sale of Frank to Capital One, JPMC, Bank of
                   America, or any other potential buyer;

                f. Concerning “Project Finland Executive Update” on or around July 13, 2021;

                g. Attaching or discussing Frank’s financials, including balance sheets, revenue
                   by product, and historical profits and losses;

                h. Regarding JPMC’s assessment of Frank’s ADA compliance during
                   Integration;

                i. Regarding any changes in laws, policies, and procedures that had an impact
                   Frank’s business model, including Frank’s FAFSA submitter;

                j. Regarding any disruption to or shutdown of Frank’s FAFSA submitter;

                k. Regarding any disruption to or shutdown of Frank’s microsite; and

                l. Concerning Acxiom’s data validation work during JPMC’s diligence of
                   Frank.

       JPMC moves, in a single sentence, to quash Request 31 because it “seeks inadmissible

documents and communications protected by attorney-client and/or work product privilege.” Mot.




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at 67.24 Along that same conclusory vein, JPMC has produced multiple privilege logs withholding

or redacting approximately 25,000 documents and, for months, has refused to engage with

Defendants on the propriety of those privilege calls. Defendants sent many of these exact privilege

challenges to JPMC on September 19, 2023, and JPMC responded that Defendants lacked standing

to challenge JPMC’s response to a grand jury subpoena. See Letter from JPMC to the Court, ECF

No. 50-1 (Sept. 22, 2023) (disputing Defendants’ standing to challenge privilege). At this juncture,

where Mr. Amar does have standing, JPMC has not met its burden to establish that it is

appropriately claiming privilege.

       “It is axiomatic that the burden is on a party claiming the protection of a privilege to

establish those facts that are the essential elements of the privileged relationship.” In re Grand

Jury Subpoena Dated Jan. 4, 1984, 750 F.2d 223, 224-25 (2d Cir. 1984); 25 United States v.

Adlman, 68 F.3d 1495, 1500 (2d Cir. 1995) (“The party claiming the benefit of the attorney-client

privilege has the burden of establishing all the essential elements”); In re Horowitz, 482 F.2d 72,

82 (2d Cir. 1973) (“as with all privileges, the person claiming the attorney-client privilege has the

burden of establishing all essential elements”). The attorney-client privilege is “strictly confined

within the narrowest possible limits” because it “stands in derogation of the public’s ‘right to every



24
   JPMC argues only that the specific log documents in Request 31 are inadmissible because they
are privileged, conceding specificity and relevance—as it must, since logged documents are
inherently specific and relevant by JPMC’s own determination. See Mot. at 14-15, 67. JPMC
contends, without substantiation, that Mr. Amar seeks all documents on JPMC’s privilege log. Mot.
at 67. Mr. Amar does not, and Request 31 is targeted to capture specific categories to relevant
documents.
25
   “To invoke the attorney-client privilege, a party must demonstrate that there was: (1) a
communication between client and counsel, which (2) was intended to be and was in fact kept
confidential, and (3) made for the purpose of obtaining or providing legal advice.” United States
v. Construction Products Research, Inc., 73 F.3d 464, 473 (2d Cir. 1996) (citing Fisher v. United
States, 425 U.S. 391, 403 (1976)).


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       In any event, even if some of the withheld documents reflect bona fide privilege assertions,

JPMC has cited no authority finding that privileged documents are per se inadmissible or exempted

from Rule 17(c)’s reach. The case law indicates the opposite is true. See, e.g., Weisberg, 2011 WL

1327689, at *4 (describing the “dearth of binding authority regarding the balance that must be

struck between a criminal defendant’s right to subpoena evidence from third parties under Rule

17(c) and those third parties’ valid assertion of attorney-client or work product privilege”).

       “The generalized assertion of privilege must yield to the demonstrated, specific need for

evidence in a pending criminal trial.” Nixon, 418 U.S. at 713. Even if “a particular item of evidence

is privileged,” it may be “nevertheless so important to the defense that its disclosure is

constitutionally required.” Weisberg, 2011 WL 1327689, at *5 (“In certain cases, a criminal

defendant’s constitutional right to present a defense may outweigh a third party’s right to assert

privilege.” (citing Fed. R. Evid. 501)). JPMC’s “generalized interest in confidentiality” as “the

ground for asserting privilege as to subpoenaed materials sought for use in a criminal trial . . .

cannot prevail over the fundamental demands of due process of law in the fair administration of

criminal justice.” See Nixon, 418 U.S. at 685, 713. Indeed, “[o]ur criminal justice system permits,

and even encourages, trial judges to be over-cautious in ensuring that a defendant will receive a

fair trial.” Gannett Co. v. DePasquale, 443 U.S. 368, 379 n.6. (1979). 27



27
  Cf. United States v. W.R. Grace, 439 F. Supp. 2d 1125, 1145 (D. Mont. 2006) (“the law requires
that the privilege yield where its invocation is incompatible with a criminal defendant’s Sixth
Amendment rights”); United States v. Renzi, Case No. 08-cr-212 (TUC) (DCB) (BPV), 2010 WL
582100 at *10 (D. Ariz. Feb. 18, 2010) (“at least some of the proffered evidence would be of such
exculpatory value that the exclusion of such evidence would amount to a denial of [the
defendant]’s right to present a defense, and must be admitted at trial over [a co-defendant]’s claim
of privilege”) (citation omitted); United States v. Sattar, 02-cr-395 (JGK), 2003 WL 22137012 at
*16 (S.D.N.Y. Sept. 15, 2003) (pursuant to its Brady obligations, the government sought an order
authorizing the disclosure of attorney-client privileged matters notwithstanding a third party’s
assertion of the privilege, arguing “[the defendant]'s due process rights to potentially relevant,



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          Given that JPMC continues to evaluate questions of privilege and intends to produce a

consolidated, comprehensive privilege log, Mr. Amar proposes that, following receipt of that

consolidated log (and after a reasonable period to evaluate the claims of privilege), Defendants

confer with JPMC regarding any proposed challenges to privilege and, to the extent disputes

remain, propose a schedule for adjudication of those challenges by the Court (including in camera

review of contested privilege assertions). See, e.g., Weisberg, 2011 WL 1327689, at *5 (holding

that “it is appropriate for the district court to review, in camera, each item in question” when

determining whether a particular item of evidence is privileged).

          Here, given JPMC’s generalized (and dubious) assertions of privilege and its refusal to

engage meaningfully in any process to review privilege challenges, JPMC’s motion should be

denied.

                                          CONCLUSION

          For these reasons, JPMC’s Motion to Quash lacks merit and should be denied. To the extent

that JPMC remains unclear about time period, search terms, or custodians, Mr. Amar has been and

remains willing to meet and confer to answer any questions or to narrow any issues.




exculpatory, or impeachment material outweigh [the third party]’s interest in maintaining the
confidentiality of the communications”).




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                                           Respectfully submitted,


                                           /s/ Sean S. Buckley
                                           Sean S. Buckley
                                           Steven G. Kobre
                                           Alexandria E. Swette
                                           Genna L. Sinel
                                           KOBRE & KIM LLP
                                           800 Third Ave
                                           New York, New York 10022
                                           Telephone: (212) 488-1200
                                           Facsimile: (212) 488-1220
                                           Sean.Buckley@kobrekim.com
                                           Steven.Kobre@kobrekim.com
                                           Alexandria.Swette@kobrekim.com
                                           Genna.Sinel@kobrekim.com

                                           Sydney S. Johnson (pro hac vice)
                                           KOBRE & KIM LLP
                                           1919 M Street, NW
                                           Washington, DC 20036
                                           Telephone: (202) 664-1900
                                           Facsimile: (202) 664-1920
                                           Sydney.Johnson@kobrekim.com

                                           Counsel for Defendant Olivier Amar




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